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 7
                          UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9

10    THRIVE NATURAL CARE, INC.,                Case No. 2:21-CV-02022-DOC-KES
11                      Plaintiff,              THRIVE NATURAL CARE, INC.’S
                                                MEMORANDUM IN SUPPORT OF
12          v.                                  PARTIAL MOTION TO DISMISS
                                                COUNTERCLAIM UNDER RULE
13    LE-VEL BRANDS,                            12(B)(6)
      LLC,
14                                              Judge: Hon. David O. Carter
                        Defendant.              Hearing Date: June 14, 2021
15                                              Time: 8:30 a.m.
                                                Courtroom: 9D
16

17

18
      LE-VEL BRANDS, LLC,

19
                  Counterclaim Plaintiff,

20
            v.

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      THRIVE NATURAL CARE, INC,

22
                  Counterclaim Defendant.

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                                                          THRIVE’S MEMO IN SUPPORT OF RULE
                                                          12(B)(6) PARTIAL MOTION TO DISMISS
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 1                                        Introduction
 2         Le-Vel Brands, LLC’s (“Le-Vel”) Counterclaim 1 makes two attacks on
 3   Trademark Registration No. 4,467,942 (the “’942 Registration”) based on an
 4   alleged defect in the chain of title of the application which underlies the ’942
 5   Registration. Both attacks are unprecedented—no court has held that the original
 6   registrant and holder of an incontestable registration can have its rights stripped
 7   away by a purported defect that occurred in the application process. That is exactly
 8   the sort of chain-of-title attack that the Supreme Court has held incontestability is
 9   intended to prohibit.
10         Thrive Natural Care, Inc. (“Thrive”) is and always has been the registrant of
11   the ’942 Registration for the mark THRIVE on lotions, creams, and cleansers.
12   The ’942 Registration issued to Thrive and has never been assigned to anyone else.
13   Thrive made the initial use in commerce that formed the basis for the Statement of
14   Use supporting the ’942 Registration, which Thrive filed on its own behalf. It is
15   undisputed that the U.S. Patent & Trademark Office (“PTO”) awarded
16   incontestable status to the ’942 Registration based on Thrive using the THRIVE
17   mark in commerce continuously for more than five years. The Supreme Court has
18   explained that incontestability “provide[s] a means for the registrant to quiet title in
19   the ownership of his mark.” Park ‘N Fly, Inc. v. Dollar Park & Fly, Inc., 469 U.S.
20   189, 198 (1985). As the original registrant of the ’942 Registration, Thrive is
21   entitled to the “quiet title” benefits provided by the incontestability provisions.
22         Le-Vel’s Counterclaim 1(a) alleges that the ’942 Registration was void ab
23   initio due to an improper assignment of the parent intent-to-use application from the
24   original applicant to Thrive. But the Supreme Court has held that an incontestable
25   registration can only be challenged using the defenses expressly enumerated in 15
26   U.S.C. § 1115(b). That does not include the defense that a mark was void ab initio.
27   “Void ab initio challenges are conspicuously absent from the list of statutory
28   defenses to an incontestable registration under Section 1115(b).” Marketquest Grp.,
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 1   Inc. v. BIC Corp., 316 F. Supp. 3d 1234, 1292 (S.D. Cal. 2018). Void ab initio
 2   defenses “are also absent from Section 1064, which means courts lack jurisdiction
 3   to cancel a registration under Section 1119 based on a void ab initio challenge.”
 4   Id. (emphasis added). Many other courts have held the same. No court has canceled
 5   an incontestable registration held by the original registrant due to an improper
 6   assignment during the application process. The statutory section on which Le-Vel
 7   relies, 15 U.S.C. § 1060, was intended to prevent trafficking in inchoate, unused
 8   marks. There is no such concern here, where Thrive is the original registrant and
 9   was awarded incontestable status based on its own lengthy, continuous use.
10         Le-Vel’s Counterclaim 1(b) seeks to cancel the ’942 Registration for
11   abandonment by Ecomundi, LLC (“Ecomundi”). That claim must fail because Le-
12   Vel would have to prove that “the mark has been abandoned by the registrant.” 15
13   U.S.C. § 1115(b)(2) (emphasis added). The allegation that Ecomundi—who is
14   neither the registrant not the current trademark owner—has abandoned the mark
15   does not state a cause of action. Thrive is the registrant, and Thrive has always been
16   the registrant. As a matter of law, Le-Vel has not alleged and cannot prove that
17   Thrive has abandoned the claimed mark.
18         The case on which Le-Vel primarily relies, Patagonia, Inc. v. Anheuser-
19   Busch, LLC, No. 2:19-CV-02702-VAP-JEMx (C.D. Cal. Sep. 3, 2019), made a
20   broad statement in a footnote, without any analysis, that “the incontestability of a
21   trademark is irrelevant to Plaintiffs’ cancellation claims.” Id. at *11 n.2. As
22   explained below, that statement is completely at odds with the Supreme Court’s
23   holding in Park N’ Fly, the plain statutory language, the published Marketquest
24   opinion, and numerous other opinions holding incontestability is highly relevant to
25   whether and how a registration can be canceled. Further, the Second Circuit case
26   Patagonia cited support had nothing to do with a defect in an application’s chain of
27   title, but rather involved fraudulent transfers of registrations many years after they
28   had been deemed incontestable. Unlike here, where Thrive is the original registrant
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 1   of the ’942 Registration, Patagonia involved a post-registration assignment
 2   combined with abandonment issues that are not present here.
 3         Thrive obtained the ’942 Registration in its own name. Thrive has made
 4   continuous use of the THRIVE mark for over five years and as a result has been
 5   awarded incontestable status. Under Supreme Court law, Thrive thus has the right
 6   to “quiet title” to this registration. As such, the purported defect in the chain of title
 7   of the underlying application alleged by Le-Vel cannot be a basis to cancel Thrive’s
 8   registration either as void ab initio for improper assignment of the application or for
 9   abandonment. Le-Vel’s Counterclaim 1(a) and (b) are therefore barred as a matter
10   of law. The Court should therefore dismiss Counterclaim 1 in its entirety with
11   prejudice under Rule 12(b)(6), as the claim cannot be remedied by amendment.
12   I.    Relevant Facts
13         The following facts are taken from Le-Vel’s pleading. On September 11,
14   2012, Ecomundi Ventures, LLC (“Ecomundi”) filed the trademark application U.S.
15   Serial No. 85/726,058 (the “’058 Application”) to register the mark THRIVE in
16   relation to various skincare products. [Doc. 71 ¶ 144] Alex McIntosh signed ’058
17   Application as the CEO of Ecomundi. [Id. ¶ 145] On May 23, 2013, Ecomundi
18   transferred all rights, title, and interest in the THRIVE mark and the ’058
19   Application to Thrive Natural Care, Inc. (“Thrive”). [Id. ¶¶ 148-49]
20         Beginning on October 4, 2013, Thrive took over prosecution of the ’058
21   Application. [Id. ¶¶ 162-64] On that date, Thrive filed a Request to Divide the ’058
22   Application into two applications: (a) one covering skincare products on which
23   Thrive alleged it had begun using the THRIVE mark in commerce on September 5,
24   2013, consisting of “[n]on-medicated skin care preparations, namely facial lotions,
25   cleansers and creams, creams and oils for cosmetic use, skin moisturizers; pre-
26   shaving preparations; after shave lotions and creams; and (b) another covering other
27   personal care and skincare products for which Thrive alleged it had an intent to use
28   the mark in commerce but was not yet doing so. [Id. ¶¶ 163-64] Also on October 4,
                                                                THRIVE’S MEMO IN SUPPORT OF RULE
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 1   2013, Thrive filed a Statement of Use alleging that Thrive was using the THRIVE
 2   mark in commerce in relation to the former set of goods. [Id. ¶ 163, Exhibit (“Ex.”)
 3   8] Alex McIntosh, as CEO of Thrive, signed the Statement of Use on Thrive’s
 4   behalf. [Id.]
 5          On November 5, 2013, the USPTO divided the ’058 Application. [Id. ¶ 165]
 6   After that date, the ’058 Application covered only the personal care and skincare
 7   products for which Thrive had an intent to use the THRIVE mark but was not yet
 8   making such use. [Id.] The ’058 Application was eventually abandoned. [Id. ¶ 166]
 9   The USPTO also created a child application, U.S. Serial No. 85/980,517 (the “’517
10   Application”). [Id. ¶ 167] The ’517 Application covered the goods for which Thrive
11   had previously filed the Statement of Use, “[n]on-medicated skin care preparations,
12   namely facial lotions, cleansers and creams, creams and oils for cosmetic use, skin
13   moisturizers; pre-shaving preparations; after shave lotions and creams[.]” [Id.]
14   The ’517 Application matured into the ’942 Registration. [Id. ¶ 168]
15          The ’942 Registration registered in Thrive’s name, and Thrive is identified as
16   the registrant on the registration certificate. [See Declaration of Stephen McArthur
17   filed herewith (“McArthur Decl.”), Exhibit (“Ex.”) A] On January 13, 2020, Thrive
18   filed with the USPTO a Combined Declaration of Use and Incontestability in
19   connection with the ’942 Registration. [Id. ¶ 179, Ex. 9] The USPTO accepted the
20   declaration on March 7, 2020, awarding incontestable status to the ’942
21   Registration. [McArthur Decl., Ex. B]1
22          Le-Vel alleges that Thrive “offers and sells skincare products under the name
23   and trademark THRIVE through its website available at thrivecare.co . . . .” [Doc.
24   71 ¶ 182] Le-Vel further alleges that Thrive has offered “face wash,” “face balm,”
25   and “shave oil” for sale under the THRIVE mark since August or September 2013.
     1
26     The ’942 Registration and finding of incontestability are referenced throughout
     the Counterclaims, and these documents can properly be considered on a motion to
27   dismiss. See In Re: Stac Elecs. Sec. Lit, 89 F.3d 1399, 1405 n. 4 (9th Cir. 1996)
     (courts may consider documents referenced in a complaint whose authenticity is not
28   in question).
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 1   [Id. ¶¶ 170-71]
 2   II.    Thrive’s Incontestable Registration Cannot Be Canceled Through a
            Void Ab Initio Challenge or for Abandonment By the Registrant
 3

 4          Le-Vel’s void ab initio and abandonment challenges to the ’942 Registration
 5   must fail. An incontestable registration cannot be canceled on the ground Le-Vel
 6   alleges in Counterclaim 1(a), because that is not one of the defenses expressly
 7   enumerated in 15 U.S.C. §§ 1115(b) or 1064. And Le-Vel itself alleges Thrive has
 8   been and is selling THRIVE skincare products in U.S. commerce. Le-Vel thus
 9   cannot prove Thrive—the “registrant”—has abandoned the mark, as is required to
10   raise a cognizable challenge under § 1115(b).
11          A.     A Claim Without a Cognizable Legal Theory Must Be Dismissed
12          Dismissal under Rule 12(b)(6) of the Federal Rules of Civil Procedure is
13   appropriate where the claim lacks a cognizable legal theory. See Balistreri v.
14   Pacifica Police Dep’t., 901 F.2d 696, 699 (9th Cir. 1990). “A complaint may
15   survive a motion to dismiss only if, taking all well-pleaded factual allegations as
16   true, it contains enough facts to ‘state a claim to relief that is plausible on its face.’”
17   Jerome's Furniture Warehouse v. Ashley Furniture Indus., Inc., Case No. 20-CV-
18   1765-GPC(BGS), at *6 (S.D. Cal. Apr. 19, 2021) (quoting Ashcroft v. Iqbal, 556
19   U.S. 662, 678 (2009)). In other words, a complaint’s “non-conclusory factual
20   content, and reasonable inferences from that content, must be plausibly suggestive
21   of a claim entitling the plaintiff to relief.” Moss v. U.S. Secret Serv., 572 F.3d 962,
22   969 (9th Cir. 2009). “Determining whether a complaint states a plausible claim for
23   relief is a context-specific task that requires the reviewing court to draw on its
24   judicial experience and common sense.” Redbox Automated Retail, LLC v. Buena
25   Vista Home Ent., Inc., 399 F. Supp. 3d 1018, 1026 (C.D. Cal. 2019). Taking all
26   facts in Le-Vel’s favor, its Counterclaim parts 1(a) and (b) both lack a cognizable
27   legal theory and are barred by law. The counterclaim should therefore be dismissed
28   in its entirety.
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 1         B.     Thrive’s Incontestable Registration is Conclusive Evidence of Its
                  Ownership and Not Subject to a Void Ab Initio Challenge
 2

 3         In Counterclaim 1(a), Le-Vel contends the ’942 Registration is void ab initio
 4   pursuant to 15 U.S.C. § 1060. [Id. ¶¶ 200-211] According to Le-Vel, Ecomundi
 5   improperly assigned the ’517 Application to Thrive “while it was still an intent-to-
 6   use application” and prior to the mark being used in commerce, and thus allegedly
 7   prior to any goodwill developing in the mark. [Id. ¶¶ 203-05] Le-Vel claims this
 8   renders the ’942 Registration, which matured from the ’517 Application, is void ab
 9   initio under § 1060. [Id. ¶¶ 206-11] However, the undisputed facts show that the
10   incontestable ’942 Registration cannot be subject to a void ab initio challenge.
11                1.     Incontestability provisions are intended to reward long-
                         term, continuous use with “quiet title” to a mark
12

13         Congress included incontestability provisions in the Lanham Act to “provide
14   a means for the registrant to quiet title in the ownership of his mark.” Park ‘N Fly,
15   Inc. v. Dollar Park & Fly, Inc., 469 U.S. 189, 198 (1985). A registrant obtains
16   incontestable status by fulfilling the requirements of 15 U.S.C. § 1065, which
17   requires: (a) “that the registered mark has been in use for five consecutive years and
18   is still in use in commerce”; and (b) “there has been no decision adverse to the
19   registrant's claim of ownership of the mark, the right to register, or the right to keep
20   it on the register.” KP Permanent Make-Up, Inc. v. Lasting Impression I, Inc., 408
21   F.3d 596, 602 (9th Cir. 2005); 15 U.S.C. § 1065.
22         Once obtained, an incontestable registration “shall be conclusive evidence of
23   the validity of the registered mark and of the registration of the mark, of the
24   registrant’s ownership of the mark, and of the registrant’s exclusive right to use
25   the registered mark in commerce.” 15 U.S.C. § 1115(b) (emphasis added); see also
26   Reno Air Racing Ass’n, Inc. v. McCord, 452 F.3d 1126, 1134 (9th Cir. 2006).
27   Incontestable status provides significant protections for a registration. “Once a mark
28   is deemed ‘incontestable,’ the trademark-holder is entitled to an exclusive right to
                                                              THRIVE’S MEMO IN SUPPORT OF RULE
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  1   use the mark that can be defeated only on specifically enumerated grounds.” M2
  2   Software, Inc. v. Madacy Ent., 421 F.3d 1073, 1077 n.1 (9th Cir. 2005). A
  3   challenger can only cancel an incontestable mark using the defenses expressly
  4   enumerated in 15 U.S.C. § 1115(b). Park ‘N Fly, 469 U.S. at 196 (explaining
  5   “registration is conclusive evidence of the registrant’s exclusive right to use the
  6   mark, subject to the conditions of § [1065] and the seven defenses enumerated in §
  7   [1115](b) itself.”); Levi Strauss & Co. v. GTFM, Inc., 196 F. Supp. 2d 971, 983
  8   (N.D. Cal. 2002) (“[A]n incontestable registration constitutes conclusive evidence
  9   of the registrant’s right to use the mark, subject to the conditions of § 1064 and the
 10   exceptions enumerated in § 1115(b).”); Marketquest Grp., Inc. v. BIC Corp., 316 F.
 11   Supp. 3d 1234, 1292 (S.D. Cal. 2018) (holding “[b]ecause these registrations are
 12   incontestable, they are statutorily subject to a limited set of challenges” and citing
 13   Sections 1065 and 1115(b)). Gaining these protections via incontestable status, the
 14   Supreme Court held, “thus encourages producers to cultivate the goodwill
 15   associated with a particular mark.” Park ‘N Fly, 469 U.S. at 198.
 16         It is undisputed here that the USPTO has granted Thrive’s ’942 Registration
 17   incontestable status. [See McArthur Decl. Ex. B] That determination was based on
 18   Thrive declaring it had made continuous use of the THRIVE mark on skincare
 19   products for over five years. [Doc. 71 ¶ 179, Ex. 9] Neither can there be any dispute
 20   that Thrive is the original “registrant” of the ’942 Registration, having obtained the
 21   registration in its name and held the registration since it issued. [McArthur Decl.,
 22   Ex. A]; see also 15 U.S.C. § 1127 (noting “applicant” and “registrant” are separate
 23   terms). Thrive is thus entitled to the benefits of incontestability, including that
 24   Thrive, as the registrant, is conclusively determined to be the owner of the ’942
 25   Registration and to “quiet” any and all challenges or claims to that title. See 15
 26   U.S.C. § 1115(b); Park ‘N Fly, 469 U.S. at 198.
 27   ///
 28   ///
                                                                THRIVE’S MEMO IN SUPPORT OF RULE
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  1                2.    Incontestable marks can only be challenged with defenses
                         enumerated in § 1115(b), and courts lack jurisdiction to
  2                      cancel an incontestable mark under § 1064 on a void ab
                         initio challenge
  3

  4         The permissible challenges to Thrive’s incontestable registration are
  5   enumerated in § 1115(b) and include that the registration was obtained by fraud,
  6   abandonment by the registrant,2 functionality, and several other defenses all of no
  7   relevance here. 15 U.S.C. § 1115(b)(1)-(9). Critically, “[v]oid ab initio challenges
  8   are conspicuously absent from the list of statutory defenses to an incontestable
  9   registration under Section 1115(b).” Marketquest, 316 F. Supp. 3d at 1292. A void
 10   ab initio challenge alleges the trademark registration was “null from the
 11   beginning.” Aycock Eng. v. Airflite, 560 F.3d 1350, 1357 n.9 (Fed. Cir. 2009). “A
 12   void ab initio challenge functions as a means of cancelling a registration in whole
 13   or in part even when there has been no showing of fraudulent conduct.”
 14   Marketquest, 316 F. Supp. 3d at 1291. Instead, the challenge is “based on the
 15   notion that the application for the registration of the mark did not comply with the
 16   statutory requirements to register a mark.” Id. But because void ab initio challenges
 17   are not enumerated in § 1115(b), a defendant is “barred” as a matter of law from
 18   asserting such a challenge to an incontestable mark. Id. at 1292.
 19         Further, a district court’s jurisdiction to cancel a trademark registration
 20   comes from 15 U.S.C. § 1119. See id.; Netjets Inc. v. Intellijet Grp., LLC, 678 Fed.
 21   App’x 343, 348 (6th Cir. Feb. 3, 2017). However, “[t]he power of federal courts to
 22   cancel a mark under the Lanham Act, as provided for under § 1119, is subject to §
 23   1064 and limited to the grounds listed in the statute.” Id.; (citing Shakespeare Co. v.
 24   Silstar Corp. of Am., Inc., 9 F.3d 1091, 1099 (4th Cir. 1993); J. Thomas McCarthy,
 25   McCarthy on Trademarks and Unfair Competition, § 30.32[4] at 30-162 (3d ed.
 26   1992)). The Supreme Court specifically held in Park ‘N Fly that “the power of the
 27   2
       While Le-Vel did allege abandonment, it did not allege abandonment by the
 28   registrant, Thrive.
                                                               THRIVE’S MEMO IN SUPPORT OF RULE
                                                               12(B)(6) PARTIAL MOTION TO DISMISS
                                                 -8-                CASE NO. 2:21-CV-02022-DOC-KES
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  1   courts to cancel registrations and ‘to otherwise rectify the register,’ § 37, 15 U.S.C.
  2   § 1119, must be subject to the specific provisions concerning incontestability.” 69
  3   U.S. at 203. “Under § 1064(3), petitions for cancellation of a mark registered for
  4   five years may be brought only for a limited set of reasons, including fraudulent
  5   registration or if the mark has become generic.” Netjets, 678 Fed. App’x at 348.
  6         As with § 1115(b), void ab initio defenses “are also absent from Section
  7   1064, which means courts lack jurisdiction to cancel a registration under Section
  8   1119 based on a void ab initio challenge.” Marketquest, 316 F. Supp. 3d at 1292
  9   (citing NetJets, 678 Fed. App’x at 350). The Marketquest court thus held the
 10   defendant’s void ab initio cancellation counterclaim failed for lack of jurisdiction.
 11   Id. Likewise, the Sixth Circuit in NetJets reversed the district court’s holding that
 12   an incontestable registration was void ab initio because the mark was not in use in
 13   commerce at time of registration, because that “determination is incompatible with
 14   § 1064.” 678 Fed. App’x at 350. According to the Sixth Circuit:
 15         Under § 1064(3), petitions for cancellation of a mark registered for
            five years may be brought only for a limited set of reasons, including
 16         fraudulent registration or if the mark has become generic. Void ab
            initio, the basis of [defendant’s] claims, is not one of these reasons and
 17         § 1064 bars its counterclaim for cancellation of the mark.
 18   678 Fed. App’x at 348.
 19         Numerous other courts have followed the same analysis as Marketquest and
 20   Netjets and arrived at the same conclusion that §§ 1115(b) and 1064 do not allow
 21   void ab initio challenges to incontestable marks. In Collectable Promo. Prods. v.
 22   Disney Enters., No. CIV-06-1187-D (W.D. Okla. June 2, 2009), the court denied an
 23   attempt to cancel an incontestable mark as void ab initio, noting “Defendants offer
 24   no authority to support the contention that cancellation of the trademark as void ab
 25   initio may be asserted, after the mark has become uncontestable, for reasons other
 26   than the specific defenses enumerated in § 1115(b). Nor has the Court located such
 27   authority.” Id. at *14. Similarly, in American Cruise Lines, Inc. v. HMS Am. Queen
 28   Steamboat Co., No. 13-cv-324 (RGA) (D. Del. Aug. 14, 2017), the court rejected a
                                                               THRIVE’S MEMO IN SUPPORT OF RULE
                                                               12(B)(6) PARTIAL MOTION TO DISMISS
                                                 -9-                CASE NO. 2:21-CV-02022-DOC-KES
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  1   defendant’s attempt to cancel an incontestable registration as void ab initio for an
  2   alleged defect in the chain of title of the mark that occurred during the application
  3   process, prior to registration. Id. at *35. That court explained “[a] void ab initio
  4   challenge, claiming a defect in the chain of title, is notably missing from that list [in
  5   §§ 1064 and 1065].” Id. Thus, a defect in the chain of title prior to registration “is
  6   not a ground for cancellation of an incontestable mark.” Id. Other courts have held
  7   similarly. See, e.g., Ariel Invs., LLC v. Ariel Capital Advisors LLC, 230 F. Supp. 3d
  8   849, 865 (N.D. Ill. 2017) (rejecting argument that void ab initio defense could be
  9   applied to incontestable mark and finding “unpersuasive” the NetJets opinion from
 10   district court that held otherwise, which was reversed by the Sixth Circuit); Spiral
 11   Direct, Inc. v. Basic Sports Apparel, Inc., 293 F. Supp. 3d 1334, 1372 (M.D. Fla.
 12   2017) (citing Netjets and holding “defense of void ab initio fails” because
 13   challenged mark was incontestable). The Court here should follow that substantial
 14   body of persuasive authority and the binding authority of Park ‘N Fly.
 15                3.     Thrive’s ’942 Registration cannot be canceled as void ab
                          initio under Le-Vel’s Counterclaim 1(a)
 16

 17         Le-Vel’s counterclaim alleges that the ’942 Registration should be canceled
 18   because it was purportedly void ab initio for a violation of 15 U.S.C. § 1060(a)(1).
 19   That section is an “anti-trafficking rule” which “prohibits the assignment of an
 20   intent-to-use application prior to the filing of a [statement of use], unless a statutory
 21   exception is met, viz., that the intent-to-use application is transferred with at least
 22   part of the applicant’s ‘ongoing and existing’ business to which the mark pertains.”
 23   Emerald Cities Collaborative, Inc. v. Roese, 666 F. App’x 908, 8 (Fed. Cir. 2016).
 24   Under § 1060(a)(1), an intent-to-use application that is transferred prior to use of
 25   the mark may be void ab initio unless the transfer is “accompanied by that portion
 26   of the transferor’s business to which the mark pertained, i.e., that portion of the
 27   business that would have used the mark had there been no transfer.” Exel Oyj v.
 28   D’Ascoli, Opp. No. 91160397, 2008 WL 4354180, at *20-21 (T.T.A.B. Sept. 19,
                                                                THRIVE’S MEMO IN SUPPORT OF RULE
                                                                12(B)(6) PARTIAL MOTION TO DISMISS
                                                 - 10 -              CASE NO. 2:21-CV-02022-DOC-KES
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  1   2008) (non-precedential); see also Vacation Rental Partners, LLC v. Vacaystay
  2   Connect, LLC, No. 15 CV 10656, at *15 (N.D. Ill. Mar. 28, 2017). “The purpose of
  3   this limitation on assignment of an application is to prohibit ‘trafficking’ in marks:
  4   the buying and selling of ‘inchoate’ marks which as yet have no real existence.”
  5   Exel Oyj, Opp. No. 91160397, 2008 WL 4354180, at *18 (quoting McCarthy, J.
  6   Thomas, 3 McCarthy on Trademarks and Unfair Competition § 18:13 (4th ed.
  7   2008)). Thus, like the other application-related requirements in the same Lanham
  8   Act subchapter (titled “Principal Register,” 15 U.S.C. §§ 1051-1072)—such as
  9   having a bona fide intent to use a mark upon application and use in commerce prior
 10   to registration—§ 1060 creates a void ab initio defense that does not require fraud.
 11   Instead, as with other void ab initio defenses, the § 1060 defense is “based on the
 12   notion that the application for the registration of the mark did not comply with the
 13   statutory requirements to register a mark.” Marketquest, 316 F. Supp. 3d at 1292.
 14         While Le-Vel may seek to cancel the ’942 Registration for fraud because that
 15   is a defense enumerated in § 1115(b) (and indeed is doing so in other counterclaims
 16   not at issue here), the law does not allow Le-Vel to cancel the registration on the
 17   ground that it was void ab initio under § 1060. See, e.g., Collectable Promo. Prods.,
 18   No. CIV-06-1187-D, at *14. The Supreme Court in Park ‘N Fly made clear that an
 19   incontestable mark cannot be attacked using any defense that is not expressly
 20   enumerated in § 1115(b). 469 U.S. at 205 (holding incontestable mark could not be
 21   canceled for descriptiveness, as that defense was not enumerated in the statute).
 22   And, as the court in Marketquest found, the list of statutory defenses in § 1115(b)
 23   does not include void ab initio challenges of any sort. 316 F. Supp. 3d at 1292; see
 24   also Collectable Promo. Prods., No. CIV-06-1187-D, at *14. Further, as also held
 25   in Marketquest and NetJets, this Court lacks jurisdiction under § 1119 to cancel the
 26   incontestable ’942 Registration as void ab initio, because that is not an enumerated
 27   basis for cancellation in § 1064(3). Marketquest, 316 F. Supp. 3d at 1292; NetJets,
 28   678 Fed. App’x at 348-50. Rather, cancellation on that ground “is incompatible
                                                               THRIVE’S MEMO IN SUPPORT OF RULE
                                                               12(B)(6) PARTIAL MOTION TO DISMISS
                                                - 11 -              CASE NO. 2:21-CV-02022-DOC-KES
Case 2:21-cv-02022-DOC-KES Document 73-1 Filed 05/12/21 Page 15 of 22 Page ID
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  1   with § 1064.” NetJets, 678 Fed. App’x at 350. Following the same logic, the court
  2   in American Cruise Lines specifically held that a “void ab initio challenge,
  3   claiming a defect in the chain of title . . . is not a ground for cancellation of an
  4   incontestable mark.” No. 13-cv-324 (RGA), at *35. Le-Vel’s counterclaim is no
  5   different. It alleges that Ecomundi’s transfer of the intent-to-use parent application
  6   to Thrive created a defect in the chain of title during the application process. But
  7   after the standards of incontestability are met, that is no longer a valid defense or
  8   ground for cancellation.
  9         That § 1060 sets out a void ab initio defense which was omitted from §§
 10   1115(b) and 1064 is strong evidence Congress did not intend for that defense to be
 11   “read into” the statute and assertable against incontestable marks. See Pudenz v.
 12   Littlefuse, Inc., 177 F.3d 1204, 1210 (11th Cir. 1999). The court in Pudenz noted
 13   that the doctrine of “expressio unius est exclusio alterius” (“that the mention of one
 14   thing implies the exclusion of the other”) supported the decision in Park ‘N Fly,
 15   where “mere descriptiveness was explicitly listed elsewhere in the Lanham Act as a
 16   defense and a ground for cancellation, but it was absent from the list of defenses in
 17   § 1115(b).” 177 F.3d at 1210. The § 1060 defense is no different. Indeed, where
 18   Congress has desired to clarify that other challenges could be brought against
 19   incontestable marks, it has amended § 1115(b) to add those defenses to the
 20   enumerated list. See id. at 1208, 1210 n.4 (noting that Congress amended § 1115(b)
 21   in 1998 to include functionality and in 1988 to include “equitable principles,
 22   including laches, estoppel, and acquiescence” after the Park ‘N Fly opinion
 23   expressed uncertainty as to whether those defenses were applicable); 15 U.S.C. §
 24   1115(b) (Nov. 16, 1988, and Oct. 30, 1998 amendments). Notably, Congress has
 25   only ever amended § 1115(b) to add defenses of functionality and equity which
 26   existed before the passage of the Lanham Act. See Pudenz, 177 F.3d at 1210 n.4,
 27   1211. Never has Congress amended §§ 1115(b) or 1064 to add defenses set out
 28   elsewhere in the Lanham Act, and Congress has never made any effort to amend
                                                                 THRIVE’S MEMO IN SUPPORT OF RULE
                                                                 12(B)(6) PARTIAL MOTION TO DISMISS
                                                  - 12 -              CASE NO. 2:21-CV-02022-DOC-KES
Case 2:21-cv-02022-DOC-KES Document 73-1 Filed 05/12/21 Page 16 of 22 Page ID
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  1   those statutes to enable void ab initio challenges to incontestable marks. As such, a
  2   defense of void ab initio for improper assignment under § 1060 cannot be a basis to
  3   challenge an incontestable registration.
  4         Courts agree. No court has ever cancelled an incontestable mark on the sole
  5   ground that the mark matured from an intent-to-use application which was
  6   improperly assigned in violation of § 1060(a)(1). Nor, to Thrive’s knowledge, has
  7   any court canceled an incontestable mark solely because of a void ab initio defense,
  8   rather than for fraud or other issues. See, e.g., Collectable Promo. Prods. at *14
  9   (noting lack of authority for this proposition). Rather than be the first to take such
 10   an untenable position, this Court should follow Park ‘N Fly, NetJets, Marketquest,
 11   and Collectable Promotional Products and hold Le-Vel is barred from challenging
 12   the ’942 Registration on the ground that it was void ab initio under § 1060. Such a
 13   defense is clearly not permitted under § 1115(b). In addition, because the defense
 14   Le-Vel raises is “also absent from Section 1064,” the Court lacks jurisdiction under
 15   § 1119 to cancel the ’942 Registration based on that challenge. Marketquest, 316 F.
 16   Supp. 3d at 1292; see also 15 U.S.C. § 1064(3); NetJets, 678 Fed. App’x at 348-50.
 17                4.     The footnote in Patagonia was too broadly stated,
                          contradicts binding case law, and does not support Le-Vel
 18

 19         Thrive expects Le-Vel to rely heavily on Patagonia and its footnote that
 20   incontestability is irrelevant to cancellation claims. See No. 2:19-cv-02702-VAP-
 21   JEM, at *11 n.2. That would be an error for several reasons. First, Patagonia’s
 22   broad statement is completely at odds with Supreme Court law in Park N’ Fly, as
 23   well as a published opinion in this Circuit, Marketquest, and the many other cases
 24   referenced above, all of which hold that incontestability strictly limits the bases for
 25   cancellation and jurisdiction over such a claim. Patagonia offered zero analysis on
 26   this issue, is not published, and need not be followed.
 27         Second, the Second Circuit case that Patagonia cited for support of its
 28   footnote, Fed. Treasury Enter. Sojuzplodoimport v. Spirits Int’l N.V., 623 F.3d 61
                                                                THRIVE’S MEMO IN SUPPORT OF RULE
                                                                12(B)(6) PARTIAL MOTION TO DISMISS
                                                 - 13 -              CASE NO. 2:21-CV-02022-DOC-KES
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  1   (2d Cir. 2010), had nothing to do with a purported defect in the chain of title of an
  2   application prior to registration. Rather, Federal Treasury involved fraudulent
  3   transfers of STOLICHNAYA vodka registrations following the breakup of the
  4   Soviet Union, many years after those registrations had become incontestable. Id. at
  5   69. There, “all parties agree that the trademarks became incontestable in 1974, but
  6   the disputed assignment comes from a series of transactions that occurred many
  7   years later.” Id. Thus, when the Second Circuit stated that the “question of the
  8   validity of the assignment is antecedent to the question of incontestability,” the
  9   court clearly meant the validity of a post-registration assignment. Id. Specifically,
 10   that court was assessing whether the plaintiff could be considered an “assignee” of
 11   the original registrant such that it could step into the registrant’s shoes under 15
 12   U.S.C. § 1127. See id. at 68-69; 15 U.S.C. § 1127. The Federal Treasury case did
 13   not hold incontestability is irrelevant to cancellation, did not involve any void ab
 14   initio defense at all, and did not analyze assignment of an intent-to-use application
 15   under § 1060. The Patagonia court’s reliance on that case to support its broad
 16   statement about the relevance of incontestability is misplaced.
 17         Third, the facts of Patagonia differ in significant ways. There, Patagonia
 18   counterclaimed to cancel a registration held by Anheuser-Busch (“AB”) on the
 19   combined grounds that the registration violated § 1060 and had been abandoned by
 20   AB. Patagonia, No. 2:19-cv-02702-VAP-JEM, at *11-12. Unlike the instant case,
 21   the disputed registration had been transferred from the original registrant,
 22   Warsteiner, to AB after the registration had issued. Id. at *4-5. Because AB was not
 23   the original registrant, it was not plainly entitled to the protection of § 1115(b) that
 24   an incontestable registration “shall be conclusive evidence . . . of the registrant’s
 25   ownership of the mark . . . .” 15 U.S.C. § 1115(b) (emphasis added). Rather, AB
 26   had to prove that it stepped into Warsteiner’s shoes via a valid assignment. See 15
 27   U.S.C. § 1127. In its cancellation claim, Patagonia asserted that assignment from
 28   Warsteiner to AB had actually occurred prior to registration and was invalid
                                                                THRIVE’S MEMO IN SUPPORT OF RULE
                                                                12(B)(6) PARTIAL MOTION TO DISMISS
                                                 - 14 -              CASE NO. 2:21-CV-02022-DOC-KES
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  1   because AB had falsely stated the assignment date and the assignment violated §
  2   1060. No. 2:19-cv-02702-VAP-JEM, at *12-14. Patagonia combined that allegation
  3   with the assertion that AB had abandoned the disputed mark after AB had received
  4   the assignment by failing use the mark in commerce for more than six years. Id. at
  5   *14. On those facts, the court denied AB’s motion to dismiss Patagonia’s
  6   cancellation counterclaim. Id.
  7         By contrast, here Thrive is the original registrant of the ’942 Registration,
  8   which is thus “conclusive evidence” of Thrive’s ownership of the mark. [See
  9   McArthur Decl. Ex. A]; 15 U.S.C. § 1115(b). Thrive obtained the registration in its
 10   own name; there was no post-registration assignment and no need for Thrive to step
 11   into any other entity’s shoes to become the registrant under § 1127. And it is not
 12   disputed that Thrive has used the THRIVE mark in commerce since the date of
 13   registration in 2014. [Doc. 71 ¶¶170-71, 182] Unlike AB in Patagonia, Thrive is
 14   entitled as the registrant to receive and rely upon the benefits of incontestability,
 15   particularly “quieting title” concerning any pre-registration issues. See Park N’ Fly,
 16   469 U.S. at 198. Patagonia is therefore inapplicable under the circumstances, and it
 17   misstates the law regarding defenses against an incontestable mark. The Court
 18   should decline to follow that case’s footnote and instead follow the Supreme Court,
 19   Marketquest, and the substantial other authority holding a void ab initio challenge
 20   cannot be a basis to cancel an incontestable mark such as Thrive’s.
 21                5.     Public policy supports dismissing Le-Vel’s counterclaim
 22         As a final point, public policy supports Thrive’s position. As noted, §
 23   1060(a)(1) is an “anti-trafficking rule” intended to eliminate a market for
 24   “inchoate” and unused marks. Exel Oyj, Opp. No. 91160397, 2008 WL 4354180, at
 25   *18. But when a mark has been deemed incontestable, it means the registrant has
 26   used the mark in commerce continuously for over five years, and no one has
 27   challenged the registrant’s claim of ownership or right to register during that time.
 28   See 15 U.S.C. § 1065. At that point, there is no more concern about trafficking of
                                                                THRIVE’S MEMO IN SUPPORT OF RULE
                                                                12(B)(6) PARTIAL MOTION TO DISMISS
                                                 - 15 -              CASE NO. 2:21-CV-02022-DOC-KES
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  1   an inchoate mark—the registrant has made long-term use of the mark in commerce
  2   and continues to do so. Indeed, the registrant has done exactly what the Lanham
  3   Act intended to promote via the incontestability provisions: “cultivate[d] the
  4   goodwill associated with a particular mark.” Park ‘N Fly, 469 U.S. at 198. And
  5   because the registrant has made such long-term, continuous, and uncontested use, it
  6   is entitled to the protections of incontestability—“quiet title in the ownership of his
  7   mark,” consisting of a conclusive determination of ownership, validity, and the
  8   exclusive right to use the mark. Id.; 15 U.S.C. § 1115(b). Potential issues with the
  9   original application—the void ab initio challenges, which may arise from
 10   paperwork errors or other errors not rising to the level of fraud—are no longer
 11   assertable in the face of the registrant’s long and continuous use. See Marketquest,
 12   316 F. Supp. 3d at 1292.
 13         As the Supreme Court explained, the incontestability provisions’ goals
 14   “would be utterly frustrated if the holder of an incontestable mark could not enjoin
 15   infringement by others so long as they established that the mark would not be
 16   registrable but for its incontestable status.” Park ‘N Fly, 469 U.S. at 198. That is
 17   why only the specifically enumerated defenses in § 1115(b) can be brought against
 18   an incontestable mark. See id. That is also why § 1064 significantly restricts what
 19   claims can be made to cancel an incontestable mark. Netjets, 678 Fed. App’x at
 20   348; Park ‘N Fly, 469 U.S. at 203. And Congress’s intent not to allow void ab initio
 21   challenges to incontestable marks is clear. See Pudenz, 177 F.3d at 1210. Because a
 22   defense of void ab initio for improper assignment under § 1060 is not among the
 23   enumerated permissible defenses, Le-Vel cannot raise that challenge against
 24   Thrive’s ’942 Registration. The Court should therefore dismiss Le-Vel’s
 25   Counterclaim 1(a) with prejudice.
 26         C.     As the Original Registrant of the ’942 Registration, Thrive Cannot
                   Be Found to Have Abandoned the Mark
 27

 28         In Counterclaim 1(b), Le-Vel alleges the ’942 Registration is invalid for
                                                               THRIVE’S MEMO IN SUPPORT OF RULE
                                                               12(B)(6) PARTIAL MOTION TO DISMISS
                                                - 16 -              CASE NO. 2:21-CV-02022-DOC-KES
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  1   abandonment. [Id. ¶¶ 213-21] According to Le-Vel, Ecomundi did not properly
  2   transfer the ’058 Application to Thrive in May 2013, causing that application to
  3   purportedly still be owned by Ecomundi. [Id. ¶ 213] Le-Vel contends the ’517
  4   Application, which matured into the ’942 Registration, is owned by Ecomundi for
  5   the same reason (despite that application not existing until after the assignment,
  6   when Thrive filed the Request to Divide and Statement of Use). [Id. ¶ 214] Le-Vel
  7   claims that the ’942 Registration has been abandoned since Ecomundi has not used
  8   the THRIVE mark in commerce. [Id. ¶¶ 215-21] However, Le-Vel’s abandonment
  9   claim is another attack based on a pre-registration defect in the chain of title, and it
 10   must be dismissed because Le-Vel has failed to allege or show that Thrive, the
 11   original registrant, has abandoned the THRIVE mark.
 12         Section 1064(3) permits cancellation of a registration that has been registered
 13   for more than five years “if the registered mark . . . has been abandoned . . . .” 15
 14   U.S.C. § 1064(3). However, § 1115(b) clarifies that an incontestable mark can be
 15   challenged only on the ground “[t]hat the mark has been abandoned by the
 16   registrant[.]” 15 U.S.C. § 1115(b)(2) (emphasis added); Park ‘N Fly, 469 U.S. at
 17   196 (incontestable marks can only be challenged using defenses enumerated in §
 18   1115(b)); Levi Strauss, 196 F. Supp. 2d at 974. A mark can be deemed abandoned
 19   if “its use has been discontinued with intent not to resume such use” or it becomes
 20   generic. 15 U.S.C. § 1127.
 21         Here, Thrive is the original registrant of the ’942 Registration. [McArthur
 22   Decl., Ex. A] The registration issued to Thrive, and Le-Vel admits the registration
 23   has never changed hands after issuance. But Le-Vel has failed to allege that Thrive
 24   has abandoned the mark, alleging instead only abandonment by Ecomundi. [Doc.
 25   71 ¶¶ 215-17] That is irrelevant, since Ecomundi is not the registrant. Under §
 26   1115(b), Le-Vel can only assert an abandonment claim based on Thrive abandoning
 27   the mark, and Le-Vel has not done so. Permitting amendment on that issue would
 28   be futile, as Thrive is obviously using the THRIVE mark on skincare products as
                                                                THRIVE’S MEMO IN SUPPORT OF RULE
                                                                12(B)(6) PARTIAL MOTION TO DISMISS
                                                 - 17 -              CASE NO. 2:21-CV-02022-DOC-KES
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  1   even Le-Vel alleges. [Doc. 71 ¶¶170-71, 182] Therefore, as a matter of law, Le-Vel
  2   has not shown that the ’942 Registration “has been abandoned by the registrant” as
  3   required by § 1115(b). Le-Vel’s claim thus cannot constitute a cognizable challenge
  4   to the incontestable registration and should be dismissed.
  5         What Le-Vel is seeking to do is strip away incontestable trademark rights
  6   from the original registrant due to a purported chain of title defect during the
  7   application process. That is exactly the sort of challenge to ownership that a “quiet
  8   title” proceeding would address, and it is thus exactly the type of attack that is not
  9   allowed against an incontestable mark. See Park ‘N Fly, 469 U.S. at 198. In other
 10   cases where an invalid assignment has caused an incontestable mark to be deemed
 11   abandoned, the assignment occurred after registration, between the original
 12   registrant and a successor. See, e.g., interState Net Bank v. Netb@nk, Inc., 348 F.
 13   Supp. 2d 340 (D.N.J. 2004). For example, in interState the plaintiff alleged
 14   defendant Net.B@nk’s registration had been abandoned because it had been
 15   improperly assigned from the original registrant, Software Agents, to Net.B@nk
 16   several years after the registration issued, and then the mark had not been used in
 17   commerce by the original registrant. Id. at 344-46. The court found the assignment
 18   of the registration had been an “assignment in gross” and was thus invalid. Id. at
 19   351. Thus, the court stated, “the effect of the invalid assignment of the trademark
 20   registration from Software Agents to Net.B@nk is that the rights revert to Software
 21   Agents, the original registrant.” Id. at 352 (emphasis added). Because Software
 22   Agents had not used the mark for many years, cancellation was appropriate because
 23   it was shown that the mark had been abandoned “by the registrant.” Id.; see also
 24   Kleven v. Hereford, No. 13-cv-02783-AB-AGRx, at *41-42 (C.D. Cal. Aug. 21,
 25   2015) (citing interState and holding the registration at issue was “deemed reverted
 26   to [the original registrant] Hereford, and the ultimate issue of abandonment turns on
 27   whether Hereford (not [assignee] Belleair) has abandoned the registered mark”).
 28         Unlike those cases, Thrive is the original registrant. There was no post-
                                                               THRIVE’S MEMO IN SUPPORT OF RULE
                                                               12(B)(6) PARTIAL MOTION TO DISMISS
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  1   registration assignment that could put the chain of title of the ’942 Registration into
  2   question. And Thrive—by using the THRIVE mark continuously for more than five
  3   years and meeting the requirements for incontestability—has quieted title to that
  4   mark and must be deemed its conclusive owner. See Park ‘N Fly, 469 U.S. at 198.
  5   That is true regardless of any defect in the chain of title that may (or may not) have
  6   occurred during the application process. See, e.g., Am. Cruise Lines, No. 13-cv-324
  7   (RGA), at *35 (“defect in the chain of title [during application process] . . . is not a
  8   ground for cancellation of an incontestable mark.”). Allowing Le-Vel to seek to
  9   strip Thrive, the original registrant of the ’942 Registration, of Thrive’s trademark
 10   rights would run directly contrary to Park N’ Fly and § 1115(b). That statute was
 11   intended to provide registrants like Thrive the benefit of “quiet title” from such pre-
 12   registration-based challenges after making long-term, continuous, unchallenged use
 13   of a mark. Le-Vel’s Counterclaim 1(b) is not permitted as a matter of law, because
 14   Le-Vel cannot prove the registrant, Thrive, has abandoned its mark. The
 15   counterclaim should therefore be dismissed with prejudice.
 16                                         Conclusion
 17         For the reasons stated above, Le-Vel’s Counterclaim 1(a) and (b) are barred
 18   as a matter of law. Because Le-Vel cannot state a cognizable legal basis for that
 19   claim, dismissal with prejudice is appropriate.
 20
       DATED: May 12, 2021                       Respectfully submitted,
 21

 22                                              THE MCARTHUR LAW FIRM, PC
 23                                              By: /s/ Stephen McArthur
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 24                                                  Thomas Dietrich
 25                                              Attorneys for Plaintiff and Counterclaim
                                                 Defendant Thrive Natural Care, Inc.
 26

 27

 28
                                                                THRIVE’S MEMO IN SUPPORT OF RULE
                                                                12(B)(6) PARTIAL MOTION TO DISMISS
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